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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NEW YORK


LACKAWANNA CHIROPRACTIC P.C.,
a New York Professional Corporation, individually
and on behalf of all others similarly situated,
                                                CASE NO. 1:17-cv-00138

      Plaintiff,

v.

FIRST AMERICAN MEDIA GROUP, INC.,
a Nevada Corporation,

     Defendant.
_________________________________/

               VOLUNTARY DISMISSAL WITH PREJUDICE

      Plaintiff, Lackawanna Chiropractic P.C., individually, by and through

undersigned counsel, hereby advise the Court that an agreement has been reached,

and therefore Plaintiff Lackawanna Chiropractic P.C. dismisses all claims asserted

individually in this civil action, with prejudice, pursuant to Fed. R. Civ. P.

41(a)(1)(A)(ii). The class claims are dismissed without prejudice. The parties are

to bear their own respective attorneys’ fees and costs.

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Dated: March 31, 2017
                                   Respectfully submitted,

                                   By: /s/Stefan Coleman
                                   Law Offices of Stefan Coleman
                                   5 Penn Plaza, 23rd floor
                                   New York, New York 10001
                                   Telephone: 877.333.9427
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                        CERTIFICATE OF SERVICE

      I, Stefan Coleman, an attorney, hereby certify that on March 31, 2017, I

served the above and foregoing Voluntary Dismissal with Prejudice, by causing a

true and accurate copy of such paper to be filed and transmitted to counsel of

record via the Court’s CM/ECF electronic filing system.
